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 7

 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                  SACRAMENTO COURTHOUSE
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12
     UNITED STATES OF AMERICA,                      Case No.: 2:23-cr-0161-DAD
13
                    Plaintiff,                      [PROPOSED] ORDER TO FILE THIRD
14
                                                    PARTY CITY OF HAYWARD POLICE
     vs.                                            DEPARTMENT’S RELPY IN SUPPORT OF
15
                                                    MOTION TO QUASH SUBPOENA BY
16   ROBERT GODINEZ,                                DEFENDANT UNDER SEAL
17                  Defendant.
                                                    FILED UNDER SEAL
18

19          Based upon Defense Counsel’s representation contained in the Defendant’s Notice of
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     Request to Seal Documents, IT IS HEREBY ORDERED that the multiple page document and
21
     the Defendant’s Notice of Request to Seal Documents shall be SEALED until further order of
22
     this Court nunc pro tunc.
23

24          It is further ORDERED that access to the sealed documents shall be limited to the City

25   of Hayward and counsel for the defendant to which the documents pertain.
26
     //
27
     //
28
                  UNITED STATES V. ROBERT GODINEZ (CASE NO.: 2:23-CR-0161-DAD)
      [PROPOSED] ORDER TO FILE THIRD PARTY CITY OF HAYWARD POLICE DEPARTMENT’S REPLY
             IN SUPPORT OF MOTION TO QUASH SUBPOENA BY DEFENDANT UNDER SEAL
                                         PAGE 1 OF 2
             Case 2:23-cr-00161-DAD           Document 67        Filed 03/19/25       Page 2 of 2


 1          The Court finds that, for the reasons stated in the Defendant’s Notice, sealing Defendant,
 2
     Robert Godinez’s Request to file Third Party City of Hayward Police Department’s Reply in
 3
     Support of Motion to Quash Subpoena by Defendant serves a compelling interest.
 4
            The Court further finds that, in the absence of disclosure, the compelling interests
 5

 6   identified by the Defendant would be harmed.

 7          In light of the public filing of its request to seal, the Court further finds that there are no
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     additional alternatives to sealing that would adequately protect the compelling interests identified
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     by the Defendant.
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12   IT IS SO ORDERED

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     Dated: March 17, 2025
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                  UNITED STATES V. ROBERT GODINEZ (CASE NO.: 2:23-CR-0161-DAD)
      [PROPOSED] ORDER TO FILE THIRD PARTY CITY OF HAYWARD POLICE DEPARTMENT’S REPLY
             IN SUPPORT OF MOTION TO QUASH SUBPOENA BY DEFENDANT UNDER SEAL
                                         PAGE 2 OF 2
